                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
 v.                                                )           No. 3:07-CR-89
                                                   )           (PHILLIPS/GUYTON)
 JULIA C. NEWMAN,                                  )
                                                   )
                        Defendant.                 )
                                                   )



                                 MEMORANDUM AND ORDER

                This case comes before the Court on defendant Julia Newman’s Motion [Doc. 132]

 filed on January 13, 2009, requesting a continuance of the January 20, 2009 trial, or in the

 alternative, severance of her case.

                The Court took up the Motion during the pretrial conference on January 13, 2009,

 and heard argument from defendant Newman and opposing argument from the government. The

 government waived the filing of a written response in opposition, relying on its oral argument.

                After giving careful consideration to all arguments advanced by defendant Newman

 in the Motion and during oral argument, the Court finds that the Motion [Doc.132] is not well-taken.

 Although the defendant claims that she needs additional time to prepare her case for trial, the Court

 notes that she has had six weeks prior to the January 13 hearing and that she acknowledges that she

 has been provided with former defense counsel Herbert Moncier’s file, which includes recordings

 and computer files. Moreover, the defendant failed to request a continuance in the two-week period




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 provided by the Court [see Doc. 116]. All of the arguments advanced by the defendant in her

 present Motion existed at that time. Accordingly, the defendant’s Motion [Doc. 132] is DENIED.

               IT IS SO ORDERED.

                                                   ENTER:

                                                        s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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